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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
- against -

No. 19-cr-850 (JSR)

WILLIAM TAYLOR,

Defendant.

ORDER
DIRECTING RETURN OF PASSPORT

For reasons stated in Mr. Taylor’s Assented-To Motion for Return of Passport, that

motion is hereby GRANTED. Accordingly:
1. The Probation and/or Pretrial Services Office of the United States Court for the
Southern District of New York is hereby directed to return Mr. Taylor’s passport to

him or his counsel of record upon his release from Bureau of Prison’s custody.

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JEDS. RAKOFF, U.S.D.J.

SO ORDERED.

Dated: New York, New York

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